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                                              UNITED STA1 cS DISTRICT COURT, CENTRAL DISTRICT OF CALIFORNIA
                                                                    CIVIL COVER SHEET
    I. (a) PLAINTIFFS ( Check box if you are representing yourself             D)              DEFENDANTS                ( Check box if you are representing yourself� )
                                                                                                Hugo Moreno, trustee for VENICEKUSH BUSINESSTRUST
                                                                                                Jason Abraham-El, trustee for VENICEKUSH BUSINESS TRUST
                                                                                                VENICEKUSH BUSINESS TRUST dba VENICEKUSH COLLECTIVE
    (b) County of Residence of First Listed Plaintiff -------                                -County of Residence of First Listed Defendant
    (EXCEPT IN U.S. PLAINTIFF CASES)                                                           (1N U.S. PLAINTIFF CASES ONLY)
    (c) Attorneys (Firm Name, Address and Telephone Number) If you are                         Attorneys (Firm Name, Address and Telephone Number) If you are
    representing yourself, provide the same information.                                       representing yourself, provide the same information.
                                                                                               Hugo Moreno, trustee for VENICEKUSH BUSINESS TRUST
                                                                                               Jason Abraham-El, trustee for VENICEKUSH BUSINESS TRUST
                                                                                               2554 Lincoln Blvd. #412, Venice, California 90291
                                                                                               info@venicekush.com
    II. BASIS OF JURISDICTION (Place an X in one box only.)                           Ill. CITIZENSHIP OF PRINCIPAL PARTIES-For Diversity Cases Only
                                                                                            (Place an X in one box for plaintiff and one for defendant)
    D 1. U.S. Government                � 3. Federal Question (U.S.                   Citizen ofThis State         D
                                                                                                                   PTF
                                                                                                                         1
                                                                                                                               DEF
                                                                                                                               D     1 Incorporated or Principal Place
                                                                                                                                       of Business in this State
                                                                                                                                                                            PTF
                                                                                                                                                                            D     4
                                                                                                                                                                                        DEF
                                                                                                                                                                                        □     4
        Plaintiff                         Government Not a Party)
                                                                                      Citizen of Another State     D     2     D     2 Incorporated and Principal Place     D     5     D     5

    D 2. U.S. Government                 D 4. Diversity (Indicate Citizenship         Citizen or Subject of a
                                                                                                                               D
                                                                                                                                       of Business in Another State

        Defendant                            of Parties in Item 111)                  Foreign Country              D     3           3 Foreign Nation



    □
    IV. ORIGIN (Place an X in one box only.)
         1. Original
            Proceeding
                        2. Removed from
                       � State Court
                                                  D 3. Remanded from D 4. Reinstated or D 5. Transferred from Another D 6. Multidistrict
                                                       Appellate Court    Reopened           District (Specify)
                                                                                                                           Litigation -
                                                                                                                           Transfer
                                                                                                                                         D 8. Multidistrict
                                                                                                                                              Litigation -
                                                                                                                                                                          Direct File

    V. REQUESTED IN COMPLAINT: JURY DEMAND:                            0 Yes �           No      (Check "Yes" only if demanded in complaint.)
    CLASS ACTION under F.R.Cv.P. 23:                   0 Yes O No                         � MONEY DEMANDED IN COMPLAINT: $ $ 61, 300, 000
    VI. CAUSE OF ACTION (Cite the U.S. Civil Statute under which you are filing and write a brief statement of cause. Do not cite jurisdictional statutes unless diversity.)
    15 U.S.C§1114; 15 U.S.C§1125(a);15 U.S.C§112S(c);18 U.S.C.§1341;15 U.S.C§1125(a);15 U.S.C§1125(a);18 U.S. Code§ 2320;18 U.S.C.§241;18 U.S.C. §1001(a);33 U.S.C.
    §931(a)(l );18 U.S.C.§ 1030(a)(6);15 U.S.C.§1125(d);
    VII. NATURE OF SUIT (Place an X in one box only).

I        OTHER STATUTES                  CONTRACT            REAL PROPERTY CONT.              IMMIGRATION                    PRISONER PETITIONS               PROPERTY RIGHTS                     I
    □ 375 False Claims Act        □ 110 Insurance           □    240 Torts to Land
                                                                                         □    462 Naturalization               Habeas Corpus:          D   820 Copyrights
                                                                                              Application              D     463 Alien Detainee        D
    □ 376 Qui Tam
                                  □ 120 Marine              □    245 Tort Product                                                                        830 Patent
      (31 use 3729(a))
                                  0
                                                                 Liability
                                                                                         □    465 Other                □     510 Motions to Vacate

    □ Reapportionment
      400 State                         130 Miller Act      □    290 All Other Real
                                                                 Property
                                                                                              Immigration Actions
                                                                                                                       □
                                                                                                                             Sentence
                                                                                                                             530 General               D New
                                                                                                                                                         835 Patent - Abbreviated
                                                                                                                                                              Drug Application
                                                                                                TORTS
    □ 410 Antitrust               □     140 Negotiable
                                        Instrument                   TORTS                PERSONAL PROPERTY            □     535 Death Penalty         � 840 Trademark

    □ 430 Banks and Banking             150 Recovery of         PERSONAL INJURY
                                                                                         □    370 Other Fraud
                                                                                                                                   Other:
                                                                                                                                                       D 880 Defend Trade Secrets Act
                                 □      Overpayment &       □    310 Airplane                                     □           540 Mandamus/Other         of 2016 (DTSA)
    □ Rates/Etc.
      450 Commerce/ICC                  Enforcement of                                   □    371 Truth in Lending
                                        Judgment            □    315 Airplane
                                                                 Product Liability            380 Other Personal □            550 Civil Rights                SOCIAL SECURITY                     I
    □ 460 Deportation            □                                                       □                                                             0 861 HIA (1395ff)
                                        151 Medicare Act
                                                            □    320 Assault, Libel &         Property Damage
                                                                                                                  □           555 Prison Condition
    □ 470  Racketeer lnflu-
       enced & Corrupt Org.             152 Recovery of
                                                                 Slander
                                                                                         □    385 Property Damage             560 Civil Detainee
                                                                                                                                                       D 862 Black Lung (923)
    □ 480 Consumer Credit        □      Defaulted Student
                                        Loan (Exel. Vet.)
                                                            □    330 Fed. Employers'
                                                                 Liability
                                                                                              Product Liability
                                                                                                                  □           Conditions of            0 863 DIWC/DIWW (405 (g))
                                                                                               BANKRUPTCY                     Confinement
    □ 485 Telephone                                         □    340 Marine                                              FORFEITURE/PENALTY            0 864 SSID Title XVI
      Consumer Protection Act           153 Recovery of
                                 □ Overpayment              □    345 Marine Product      □    422 Appeal 28
                                                                                                                                                       0 865 RSI (405 (g))
    □ 490 Cable/Sat TV             Vet. Benefits
                                                 of              Liability
                                                                                              USC 158
                                                                                                                       □
                                                                                                                             625 Drug Related
                                                                                                                             Seizure of Property 21
    □ 850  Securities/Com-                                  □     350 Motor Vehicle      □    423 Withdrawal 28
                                                                                              use 1s7                        USC 881                         FEDERAL TAX SUITS                    I
      modities/Exchange          □      160 Stockholders'
                                                            □     355 Motor Vehicle                                    □     690 Other
    □ Actions
      890 Other Statutory               Suits
                                                                  Product Liability
                                                                                               CIVIL RIGHTS
                                                                                                                                                  □        870 Taxes (U.S. Plaintiff or
                                                                                                                                                           Defendant)
                                 □      190 Other                                        □    440 Other Civil Rights                 LABOR

    □ 891 Agricultural Acts             Contract            □    360 Other Personal
                                                                 Injury                  □    441 Voting               D 710 Fair Labor Standards □        871 IRS-Third Party 26 USC
                                                                                                                                                           7609
                                                                                                                         Act
    □ 893  Environmental
      Matters
                                 □      195 Contract
                                        Product Liability   □    362 Personal Injury-
                                                                 Med Malpratice          □   442 Employment            D     720 Labor/Mgmt.
                                                                                                                             Relations
    □ Act
      895 Freedom of Info.       □      196 Franchise
                                                            □    365 Personal Injury-
                                                                 Product Liability
                                                                                         □   443 Housing/
                                                                                             Accommodations
                                                                                                                       D     740 Railway Labor Act
                                       REAL PROPERTY                                         445 American with
    □ 896 Arbitration            □
                                                                 367 Health Care/
                                                                                         □                             D     751 Family and Medical
        899 Admin. Procedures
                                        210 Land
                                        Condemnation        □    Pharmaceutical
                                                                 Personal Injury
                                                                                             Disabilities-
                                                                                             Employment                      Leave Act
    D Act/Review of Appeal of □                                                                                        D     790 Other Labor
      Agency Decision
                                        220 Foreclosure          Product Liability
                                                                 368 Asbestos
                                                                                         □   446 American with
                                                                                             Disabilities-Other              Litigation
    D State
      950 Constitutionality of
            Statutes           □       230 Rent Lease &
                                       Eiectment
                                                            □    Personal Injury         □   448 Education             D     791 Employee Ret. Inc.
                                                                                                                             Security Act
                                                                 Product Liabilitv

FOR OFFICE USE ONLY:                          Case Number:       2:21-CV-7852-RGK-KSx
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                                                                              CIVIL COVER SHEET


VIII. VENUE: Your answers to the questions below will determine the division of the Court to which this case will be initially assigned. This initial assignment is subject
to change, in accordance with the Court's General Orders, upon review by the Court of your Complaint or Notice of Removal.

QUESTION A: Was this case removed
from state court?                                                 STATE CASE WAS PENDING IN THE COUNTY OF:                                    INITIAL DIVISION IN CACD I5:
               Yes ~ No
                                                 ~x Los Angeles, Ventura, Santa Barbara, or San Luis Obispo                                              Western
If "no," skip to Question B. If "yes," check the
box to the right that applies, enter the         ❑ Orange                                                                                               Southern
corresponding division in response to
Question E, below, and continue from there. ❑ Riverside or San Bernardino                                                                                Eastern



QUESTION B: IS the United States, or 8.7. Do SO% or more of the defendants who reside in                      YES. Your case will initially be assigned to the Southern Division.
one of its agencies or employees,a   the district reside in Orange Co.?                                     ~ Enter "Southern" in response to Question E, below,and continue
PLAINTIFF in this action?                                                                                     from there.
                                     check one ofthe boxes to the right
                Yes ~x No
                                                                                                                  NO. Continue to Question B.2.

                                                 B.2. Do SO% or more of the defendants who reside in          YES. Your case will initially be assigned to the Eastern Division.
If "no," skip to Question C. If "yes," answer    the district reside in Riverside and/or San Bernardino     ~ Enter "Eastern" in response to Question E, below,and continue
Question B.1, at right.                          Counties? (Consider the two counties together.)              from there.

                                                 check one of the boxes to the right   -♦                         NO. Your case will initially be assigned to the Western Division.
                                                                                                                  Enter "Western" in response to Question E, below, and continue
                                                                                                                  from there.


QUESTION C: Is the United States, or C.1. Do 50% or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Southern Division.
one of Its agencies or employees, a  district reside in Orange Co.?                          ~ Enter "Southern" in response to Question E, below, and continue
DEFENDANT in this action?                                                                      from there.
                                     check one of the boxes to the right   ~~
                 Yes ~ No
                                                                                               NO. Continue to Question C.2.

                                                 C.2. Do SO% or more of the plaintiffs who reside in the   YES. Your case will initially be assigned to the Eastern Division.
If "no, " skip to Question D. If "yes," answer   district reside in Riverside and/or San Bernardino      ~ Enter "Eastern" in response to Question E, below, and continue
Question C.1, at right.                          Counties? (Consider the two counties together.)           from there.

                                                 check one of the boxes to the right   ~♦                         NO. Your case will initially be assigned to the Western Division.
                                                                                                                  Enter "Western" in response to Question E, below, and continue
                                                                                                                  from there.
                                                                                                             A.                         B.                            C.
                                                                                                                                 Riverside or San           Los Angeles, Ventura,
QUESTION D: Location of plaintiffs and defendants?                                                                                                          Santa Barbara, or San
                                                                                                    Orange County               Bernardino County
                                                                                                                                                             Luis Obispo County

Indicate the locations) in which 50% or more of plaintiffs who reside in this district
reside. (Check up to two boxes, or leave blank if none of these choices apply.)
Indicate the locations) in which 50% or more of defendants who reside in this
district reside. (Check up to two boxes, or leave blank if none of these choices                            ~                            ❑                                ~X
a pply.)

                 D.1. Is there at least one answer in Column A?                                             D.2. Is there at least one answer in Column B?

                                        Yes       ~X No                                                                      ~ Yes           ~X No

                    If "yes," your case will initially be assigned to the                                      If "yes," your case will initially be assigned to the
                                 SOUTHERN DIVISION.                                                                          EASTERN DIVISION.

     Enter "Southern" in response to Question E, below,and continue from there.                                Enter "Eastern" in response to Question E, below.
                          If"no," go to question D2 to the right.       ~~                                If "no," your case will be assigned to the WESTERN DIVISION.
                                                                                                              Enter "Western" in response to Question E, below.                 j


QUESTION E:Initial Division?                                                                                             INITIAL DIVISION IN CACD

Enter the initial division determined by Question A, B, C, or D above: ~~                  WI?STI?R~                                                                                 Q

QUESTION F: Northern Counties?

Do 50% or more of plaintiffs or defendants in this district reside in Ventura, Santa Barbara, or San Luis Obispo counties?                           ~ Yes              ~X No

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IX(a). IDENTICAL CASES: Has this action been previously filed in this court?                                                                  ~X    NO                  YES

        If yes, list case number(s):


IX(b). RELATED CASES: Is this case related (as defined below)to any civil or criminal cases) previously filed in this court?
                                                                                                                                             0 NO                       YES
        If yes, list case number(s):



        Civil cases are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening,or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. For other reasons would entail substantial duplication of labor if heard by differentjudges.

        Note: That cases may involve the same patent, trademark, or copyright is not, in itself, sufficient to deem cases related.



        A civil forfeiture case and a criminal case are related when they (check all that apply):

                    A. Arise from the same or a closely related transaction, happening,or event;

                    B. Call for determination of the same or substantially related or similar questions of law and fact; or

                    C. Involve one or more defendants from the criminal casein common and would entail substantial duplication of
                    labor if heard by different judges.


 X. SIGNATURE OF ATTORNEY
(ORSELF-REPRESENTED LITIGANT):                                                                        B                            DATE:      09/28/2021

Notice to Counsel/Parties: The submission of this Civil Cover Sheet is required by Local Rule 3-1. This Form CV-71 and the information contained herein
neither replaces nor supplements the filing and service of pleadings or other papers as required by law,except as provided by local rules of court. For
more detailed instructions, see separate instruction sheet(CV-071 A).




Key to Statistical codes relating to Social Security Cases:

     Nature of Suit Code       Abbreviation                    Substantive Statement of Cause of Action
                                                   All claims for health insurance benefits (Medicare) under Title 18, Part A, of the Social Security Act, as amended. Also,
        861                       HIA              include claims by hospitals, skilled nursing facilities, etc.,for certification as providers of services under the program.
                                                  (42 U.S.C. 1935FF(b))

        862                       BL               All claims for "Black Lung" benefits under Title 4, Part B, of the Federal Coal Mine Health and Safety Act of 1969.(30 U.S.C.
                                                   923)

                                                   All claims filed by insured workers for disability insurance benefits under Title 2 of the Social Security Act, as amended; plus
        863                       DIWC
                                                   all claims filed for child's insurance benefits based on disability. (42 U.S.C. 405 (g))

                                                   All claims filed for widows or widowers insurance benefits based on disability under Title 2 of the Social Security Act, as
        863                       DIWW
                                                   amended.(42 U.S.C.405(gp

                                                   All claims for supplemental security income payments based upon disability filed under Title 16 of the Social Security Act, as
        864                       SSID
                                                   amended.

        865                       R51              All claims for retirement (old age) and survivors benefits under Title 2 of the Social Security Act, as amended.
                                                  (42 U.S.C.405 (g))




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